DocuSign Envelope ID: 925AA5BE-EE00-4AB2-9109-95B5B8454D84
                      Case 3:22-cv-00541-JCH Document 21-4 Filed 06/03/22 Page 1 of 1




                                      IN THE UNITED STATES DISTRICT COURT
                                            DISTRICT OF CONNECTICUT


            HU CHUN LIANG,
                                                                   Case No. 3:22-cv-00541-JCH
                             Plaintiff,
                 v.                                                Hon. Janet C. Hall
            DANIEL BARA, HEPHAESTUS
            FOUNDATION AG, OLYMPUS DAO, AND                        June 3, 2022
            JOHN DOE DEFENDANTS 1-5,

                             Defendants.


                                                       DECLARATATION

                     I, DANIEL BARA, hereby declare:

                     1.      I am a named defendant in this action and submit this declaration in support of

            Defendants’ motion to dismiss.

                     2.      I am not a citizen of the United States. I am a citizen of Argentina.



                     I declare under penalty of perjury under the laws of the State of Connecticut that the

            foregoing is true and correct.

                     Executed this 3 day of June, 2022

                                                                           ________________________
                                                                           Daniel Bara
